   Case 1:19-cv-02379-KBJ Document 1-20 Filed 08/07/19 Page 1 of 73




                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA


COMMITTEE ON THE JUDICIARY,
UNITED STATES HOUSE OF
REPRESENTATIVES,
2138 Rayburn House Office Building
Washington, D.C. 20515,

                              Plaintiff,

                                             Case No. 1:19-cv-2379
     v.


DONALD F. MCGAHN II,
51 Louisiana Avenue, N.W.
Washington, D.C. 20001,

                               Defendant.




                                  Exhibit T
     Case 1:19-cv-02379-KBJ Document 1-20 Filed 08/07/19 Page 2 of 73



     HJU093000                                   PAGE      1


 1   ALDERSON COURT REPORTING

 2   SHAYLAH LYNN BURRILL

 3   HJU093000




 4   MARKUP OF RESOLUTION AUTHORIZING ISSUANCE OF SUBPOENAS.

 5   Wednesday, April 3, 2019

 6   House of Representatives

 7   Committee on the Judiciary

 8   Washington, D.C.




 9       The committee met, pursuant to call, at 9:01 a.m., in

10   Room 2141, Rayburn Office Building, Honorable Jerrold Nadler

11   [chairman of the committee] presiding.

12       Present:   Representatives Nadler, Lofgren, Jackson Lee,

13   Cohen, Johnson of Georgia, Deutch, Bass, Richmond, Jeffries,

14   Cicilline, Swalwell, Lieu, Raskin, Jayapal, Demings, Correa,

15   Scanlon, Garcia, Neguse, McBath, Stanton, Dean, Murcarsel-

16   Powell, Escobar, Collins, Sensenbrenner, Chabot, Gohmert,

17   Jordan, Buck, Ratcliffe, Roby, Gaetz, Johnson of Louisiana,

18   Biggs, McClintock, Lesko, Reschenthaler, Cline, Armstrong,

19   and Steube.

20       Staff present:     Aaron Hiller, Deputy Chief Counsel; Arya
     Case 1:19-cv-02379-KBJ Document 1-20 Filed 08/07/19 Page 3 of 73



     HJU093000                                 PAGE       2


21   Hariharan, Oversight Counsel; David Greengrass, Senior

22   Counsel; John Doty, Senior Advisor; Lisette Morton, Director

23   of Policy, Planning, and Member Services; Madeline Strasser,

24   Chief Clerk; Moh Sharma, Member Services and Outreach

25   Advisor; Susan Jensen, Parliamentarian/Senior Counsel; Sophie

26   Brill, Counsel, Constitution Subcommittee; Will Emmons,

27   Professional Staff Member, Constitution Subcommittee; Brendan

28   Belair, Minority Chief of Staff; Robert Parmiter, Minority

29   Deputy Chief of Staff; Jon Ferro, Minority Parliamentarian;

30   Andrea Woodard, Minority Professional Staff Member; Carlton

31   Davis, Minority Oversight Counsel; Jake Greenberg, Minority

32   Professional Staff Member; Ashley Callen, Minority

33   Professional Staff Member; and Danny Johnson, Minority

34   Professional Staff Member.

35
     Case 1:19-cv-02379-KBJ Document 1-20 Filed 08/07/19 Page 4 of 73



     HJU093000                                   PAGE      3


36       Chairman Nadler.     The Judiciary Committee will please

37   come to order, a quorum being present.    Without objection,

38   the chair is authorized to declare a recess at any time.

39       Pursuant to Committee Rule 2 and House Rule XI, Clause

40   2, the chair may postpone further proceedings today on the

41   question of approving any measure or matter or adopting an

42   amendment for which a recorded vote for the yeas and nays are

43   ordered.

44       Pursuant to notice, I now call up the chair's resolution

45   authorizing the issuance of certain subpoenas for documents

46   and testimony for purposes of markup and move that the

47   committee agree to the resolution.

48       The clerk will report the resolution.

49       Ms. Strasser.   Resolution offered by Chairman Jerrold

50   Nadler, "Resolved, that upon the adoption of this resolution,

51   the chairman of the Committee on the Judiciary is authorized

52   to issue subpoenas" --

53       Chairman Nadler.     Without objection, the resolution is

54   considered as read and open for amendment at any point.

55       [The resolution follows:]

56
     Case 1:19-cv-02379-KBJ Document 1-20 Filed 08/07/19 Page 5 of 73



     HJU093000                                    PAGE         4


57         Chairman Nadler.   I will begin by recognizing myself for

58   an opening statement.

59         In late 1973, the Nixon Administration had an idea.

60   When special counsel, Archibald Cox, asked the White House to

61   turn over recordings of conversations held in the Oval

62   Office, President Nixon offered instead to provide the tapes

63   to Senator John Stennis of Mississippi.     Nixon proposed that

64   Stennis, who was famously hard of hearing, would listen to

65   the recordings himself, then provide summaries of the tapes

66   to the special prosecutor.     The Nixon Administration

67   justified the proposal as a means to protect sensitive

68   information that would not ordinarily be made part of the

69   record.     In hindsight, of course, we know that President

70   Nixon had ulterior motives.     In any event, Cox had a job to

71   do.   That job required him to evaluate the full record for

72   himself, and he refused the President's offer.      President

73   Nixon ordered him fired the next day.

74         The dynamics of the Stennis compromise, as it became

75   known, should sound familiar to us.     The Trump Administration

76   has an idea.    They want to redact the Mueller report before

77   they provide it to Congress.     The Department of Justice says

78   the proposal is a means to protect sensitive information that

79   would not ordinarily be made part of the record, but we have

80   reason to suspect this Administration's motives.     The Mueller

81   report probably isn't the "total exoneration" the President
      Case 1:19-cv-02379-KBJ Document 1-20 Filed 08/07/19 Page 6 of 73



      HJU093000                                  PAGE           5


 82   claims it to be.   And in any event, the committee has a job

 83   to do.   The Constitution charges Congress with holding the

 84   President accountable for alleged official misconduct.             That

 85   job requires us to evaluate the evidence for ourselves, not

 86   the Attorney General's summary, not a substantially redacted

 87   synopsis, but the full report and the underlying evidence.

 88       The Attorney General proposes to redact four categories

 89   of information from the Mueller report:   grand jury

 90   information, classified information, information related to

 91   ongoing prosecutions, and "information that may unduly

 92   infringe on the personal privacy and reputational interests

 93   of peripheral third parties."   The Department is wrong to try

 94   to withhold that information from this committee.      Congress

 95   is entitled to all of the evidence.

 96       This isn't just my opinion.   It is also a matter of law.

 97   For precedent on 3 of the 4 categories, we need look no

 98   further than the summer of 2016 when pursuant to

 99   congressional subpoena, the Department and the FBI began to

100   transfer more than 880,000 documents related to the Clinton

101   investigation to the House of Representatives.     That

102   production included classified information which we held in

103   our secure facility and which we handled every day.           It

104   included information related to ongoing investigations, and

105   it included information related to numerous third parties,

106   many of whom this committee later interviewed as part of the
      Case 1:19-cv-02379-KBJ Document 1-20 Filed 08/07/19 Page 7 of 73



      HJU093000                                   PAGE       6


107   Republican investigation into the investigation.

108       The other category of information the Attorney General

109   proposes to redact is grand jury information, normally

110   protected under Rule 6(e) of the Federal Rules of Criminal

111   Procedure.    Many who seem eager to keep this information from

112   Congress argue that the law does not allow grand jury

113   information to be shared outside the Justice Department.

114   That analysis is incomplete if not outright incorrect.      It is

115   true that Rule 6(e) ordinarily prohibits the Department from

116   sharing grand jury information with the public.     It is also

117   true that with proper authorization and under court order the

118   Department must share grand jury information with this

119   committee.

120       That was the case in 1974 when Judge Sirica authorized

121   the release of the Watergate road map to this committee at

122   the request of special counsel, Leon Jaworski.     It was the

123   case in 1998 when a Federal court permitted Ken Starr to

124   release grand jury information along with his report to

125   Congress.    It was the case in 2008 and 2009 when this

126   committee went directly to the grand jury twice to get

127   information relevant to our investigation of Judge Thomas

128   Porteous.

129       On multiple occasions, I have asked Attorney General

130   Barr to work with us, to go to the Court and obtain access to

131   materials the Department deems covered by Rule 6(e).       He has
      Case 1:19-cv-02379-KBJ Document 1-20 Filed 08/07/19 Page 8 of 73



      HJU093000                                   PAGE       7


132   so far refused.    I will give him time to change his mind, but

133   if we cannot reach an accommodation, then we will have no

134   choice but to issue subpoenas for these materials.    And if

135   the Department still refuses, then it should be up to a

136   judge, not the President and not his political appointee, to

137   decide whether or not it is appropriate or the committee to

138   review the complete record.

139       The resolution before us today authorizes subpoenas for

140   two categories of information.    First, the resolution

141   authorizes subpoenas for documents and testimony related to

142   the full and unredacted report of Special Counsel Mueller.        I

143   believe the committee must have access to this information in

144   order to perform its constitutionally-mandated

145   responsibility.    The House of Representatives agreed with

146   this proposition when last month it voted 420-0 in support of

147   a resolution that demanded the release of the full report.

148       Second, the resolution authorizes subpoenas for

149   documents and testimony of former White House employees.

150   Each of these individuals has had more than a month to

151   produce documents to this committee voluntarily.     We believe

152   that these individuals may have received documents from the

153   White House in preparation for their interviews with the

154   special counsel.    We also believe that these individuals may

155   have turned this information over to their private attorneys.

156   Under applicable Federal law, President Trump waived his
      Case 1:19-cv-02379-KBJ Document 1-20 Filed 08/07/19 Page 9 of 73



      HJU093000                                    PAGE       8


157   claims to executive privilege once this information was

158   transmitted to outside counsel.     Because we may have to go to

159   court to obtain the complete text of the special counsel's

160   report, and because the President may attempt to invoke

161   executive privilege to withhold that evidence from us, it is

162   imperative that the committee take possession of these

163   documents and others without delay.

164       Yesterday the President presented me with the high honor

165   of not one, but three separate mentions on Twitter.         He also

166   talked about our relationship, which goes back several years,

167   in a press conference yesterday afternoon.     President Trump

168   seems to think in 1998 I was opposed to public release of the

169   Starr report and that he has caught me changing my mind on

170   the subject.   Let met set the record straight.     In 1998, the

171   debate was not about Congress receiving evidence.      Congress

172   had already received the full 445-page report and 17 boxes of

173   additional documents, including grand jury material.         We are

174   owed that same opportunity today.

175       In 1998, the central debate was about the public release

176   of some of the materials accompanying the Starr report,

177   materials that Congress already had and that described

178   private sexual acts in lurid detail.     Congress has no

179   business broadcasting accounts of the President's sex life.

180   It was inappropriate in 1998.     It would be inappropriate

181   today.   Our focus should be on the law.    That is where our
      Case 1:19-cv-02379-KBJ Document 1-20 Filed 08/07/19 Page 10 of 73



      HJU093000                                     PAGE       9


182   focus will remain so long as I am chairman.

183          We are dealing now not with the President's private

184   affairs, but with a sustained attack on the integrity of the

185   republic by the President and his closest advisers.      This

186   committee requires the full report and the underlying

187   materials because it is our job, not the Attorney General's,

188   to determine whether or not President Trump has abused his

189   office.     And we require the report because one day, one way

190   or another, the country will move on from President Trump.

191   We must make it harder for future presidents to behave this

192   way.    We need a full accounting of the President's actions to

193   do that work.     Accordingly, I urge my colleagues to support

194   the resolution.

195          I now recognize the ranking member of the Judiciary

196   Committee, the gentleman from Georgia, Mr. Collins, for his

197   opening statement.

198          Mr. Collins.   Thank you, Mr. Chairman.   Before we begin

199   today, I want to point out something that I never thought

200   would actually happen.      Jeh Johnson and I actually agree

201   about something.      The former Secretary and I actually agree

202   that there is a crisis on our southern border.       And by doing

203   so, we actually agree that we need to do something about it.

204   Unfortunately, as we saw in the first quarter of this month,

205   and we are starting the second quarter of this committee off

206   in the same vein, and that is desperately searching for
      Case 1:19-cv-02379-KBJ Document 1-20 Filed 08/07/19 Page 11 of 73



      HJU093000                                     PAGE      10


207   something on the President.     When we understand this, then we

208   begin to look because instead of today, instead of dealing

209   with issues that this committee is authorized and should be

210   dealing with, we are moving on to subpoenas, and that for

211   several reasons I cannot support.

212       The first, the subpoena for the Mueller report and its

213   underlying evidence commands the Attorney General to do

214   really what the unthinkable is.     Remember, this is something

215   to remind folks.     The Starr report and the Mueller

216   investigation were not under the same authorization.        We keep

217   conflating that around here.     They were not, and this is why

218   we need to understand that.     Basically what we are now saying

219   is we are going to ask the Attorney General to break his

220   regulation, to break the law.

221       The Attorney General's entire mandate is to enforce the

222   law, and he is expressly forbidden from providing grand jury

223   outside the Department in very limited and narrow exceptions.

224   Congress is not one of the exceptions, and the chairman knows

225   it, and I would disagree with his characterization.     I

226   respect my chairman, but I disagree with his characterization

227   of the Starr report because they are under different

228   regulations.     They were put out and sent out, but when it

229   came to grand material, it was material that by law must be

230   secret.     It is grand jury material.   It represents statements

231   which may or may not be true by various witnesses -- I wish
      Case 1:19-cv-02379-KBJ Document 1-20 Filed 08/07/19 Page 12 of 73



      HJU093000                                    PAGE       11


232   many would understand that -- salacious material, all kinds

233   of material that would be unfair to release.

234       Those are not Doug Collins' words.     Those are my

235   chairman's words.     This is a time in which this is not a new

236   idea.   Right now the only thing is, is there is a hope

237   against hope that we are going to find something.      It was

238   just actually said.    We need to start now so we can begin to

239   down to the courtroom because we know we are not going to

240   find anything.    And even if we did, and I love the comment

241   just a moment ago, that there may be -- and I love how we do

242   this -- may be things in there that is not up to the Attorney

243   General to decide right or wrong.     It was not.   It was

244   Mueller's investigation that the Attorney General passed on.

245   Here is what we found.

246       This is the problem we are seeing right now.       But you

247   know something?     A different political landscape compels the

248   chairman to adopt new standards of fairness, ignoring

249   existing law and demanding material he once considered unfair

250   to release to be released.     As much as the chairman and I may

251   want to view this material as the fundamental underpinning of

252   our justice system, we cannot.     In the face of laws and rules

253   he finds inconvenient, the chairman demands our Nation's top

254   law enforcement officer to break the rules and the

255   regulations and the law.     This is reckless, it is

256   irresponsible, and it is disingenuous.
      Case 1:19-cv-02379-KBJ Document 1-20 Filed 08/07/19 Page 13 of 73



      HJU093000                                     PAGE        12


257       It is also confusing since the Attorney General is doing

258   exactly what he said he would be doing, making as much of the

259   report public as possible under Federal law and departmental

260   policy, under regulations -- understand this for the media

261   here -- under regulations written by Janet Reno and other

262   Democrats don't require to do this, but in the name of

263   transparency he is.     He may even furnish the report as early

264   as next week, yet the chairman plows ahead.

265       What is the rush?     Spring break probably.     We don't want

266   to wait until May.     We don't want to wait until the report

267   comes out.     The Attorney General has never said he is not

268   going to provide exactly the regulations say he is to

269   provide.     Why are we doing this again?   Because I guess we

270   are going to out of town and we don't want anybody to forget

271   we are doing something.     We need a press release.     We need to

272   name people.

273       The interesting thing here is, second, the subpoenas in

274   this wonderfully vague deal that we are voting on today aimed

275   at five individuals are completely misguided.        Quite simply,

276   they are to the wrong people.     Understand what I am getting

277   ready to tell you.     Two of the individuals are cooperating

278   with an ill-advised investigation -- remember the 81 letters

279   -- have provided over 3,000 pages of documents.        The chairman

280   is rewarding their cooperation by announcing their subpoenas

281   before even notifying their lawyers.
      Case 1:19-cv-02379-KBJ Document 1-20 Filed 08/07/19 Page 14 of 73



      HJU093000                                    PAGE        13


282       The other three individuals responded to Chairman

283   Nadler's initial inquiry and have indicated willingness to

284   cooperate.     Democrats never followed up with their lawyers

285   either.     In fact, my investigators have had more contact with

286   some of the individuals on the 81 initial letters than the

287   majority has.     These three individuals could not have any

288   documents responsive to the original request because those

289   responsive documents all came during their time at the White

290   House, making them presidential records.     None of these three

291   have custody of responsive documents.     The chairman knows

292   this as well because they have received letters on this.

293       Why would we ignore such obvious facts?     Because

294   Judiciary Democrats conduct oversight via press release.

295   Their investigation into 81 Trump associates has yielded not

296   the dividends they were looking for.     After 1 month, the only

297   revelation is something we knew already.     They have

298   embarrassed themselves by prejudging conclusions that the

299   President obstructed justice.     Now we have acknowledged the

300   next stop in the grinding political axes in the government.

301       What is amazing here is the fact nearly 30 others who

302   have received the Chairman's letter have not responded at all

303   and despite everything going on.     So the message is clear.

304   Here is what is happening.     If you cooperate with this

305   committee, you will get a subpoena.     If you ignore it,

306   Democrats will return the favor.     This seems like a
      Case 1:19-cv-02379-KBJ Document 1-20 Filed 08/07/19 Page 15 of 73



      HJU093000                                    PAGE         14


307   counterintuitive way to conduct oversight, but it does sound

308   familiar.     Remember the acting attorney general, Mr.

309   Whitaker, who agreed to come, who agreed to sit here, and was

310   yet rewarded with a subpoena.     And, oh, by the way, before he

311   ever got here, we caved.     We just did away with the subpoena.

312       I am not sure the purpose of the subpoena with this

313   majority.     It seems to be we want to use it because it sounds

314   good, but yet when it comes down we don't want to use it, and

315   now we are back at it again because this is all preemptive.

316   Five of the people who have been actually listed in the list

317   of subpoenas today have been cooperating or have given advice

318   to this committee, but have never really been followed up.

319   And what they have said is we are helping, but you are now

320   giving us a subpoena.

321       And as far as the Attorney General has gone, he said I

322   am giving you the Mueller report.     I am giving it to you as I

323   should under regulations, but undoubtedly that is not enough.

324   Undoubtedly that doesn't make enough press releases.       So I

325   guess what we do is put people's names on a press release.

326   We tell them that we are going to subpoena them now, although

327   they have actually already cooperated.     You know, it reminds

328   me of what I am having here, and I have made this comment

329   many times.

330       I respect my chairman, but we just disagree on this, and

331   that is the way that it will be, and that is the way we are
      Case 1:19-cv-02379-KBJ Document 1-20 Filed 08/07/19 Page 16 of 73



      HJU093000                                    PAGE         15


332   going to have it.     But it reminds me of the old guys back in

333   my hometown when they wanted to go fishing and nothing was

334   biting.     They would take a big fishing trip and go out.

335   Nothing was biting, and one day this old guy just got tired

336   of it.    Instead of catching anything the way he should, he

337   just reaches in his back pocket and pulls out a piece of

338   dynamite and throws it in the pond.     I can't find anything,

339   so I am just going to blow up everything and maybe something

340   will come to the top.

341       This committee is better than this.     This committee can

342   do this better.     Why are we here today doing preemptive

343   subpoenas?     Because we are going to be out for a while.     We

344   are not going to be here for a while, and we need to keep the

345   story rolling.     The story rolling is there is some innuendo.

346   There are some possibilities that may be in this report, but

347   we can't wait to see it.     Unfortunately what will happen, my

348   friends is this:     Christmas will come again.     They opened the

349   present that they bought early.     Nothing was there.     Now they

350   are dying to open another present.

351       At the end of the day, this President and what the

352   report of the Mueller investigation said was no collusion.

353   No obstruction.     And when we understand that, when we move

354   forward with that, if we can't get what we want, we will try

355   and try again.     Maybe that is the new thing of this

356   committee, the little train that kept looking for something
      Case 1:19-cv-02379-KBJ Document 1-20 Filed 08/07/19 Page 17 of 73



      HJU093000                                      PAGE       16


357   that says I will try and I will try and I will try.

358       But at the end of the day, the President is still

359   president.    The economy is still moving forward.      The

360   regulations that we put in place are there.        And at this

361   point in time, the Attorney General, although he is being

362   smeared repeatedly, is doing exactly what the regulation

363   says.   And for that, congratulations, Mr. Attorney General,

364   you get a subpoena.     With that, I yield back.

365       Chairman Nadler.      Thank you, Mr. Collins.     Without

366   objection, all other opening statements will be included in

367   the record.

368       I now recognize myself for purposes of offering an

369   amendment in the nature of a substitute.       The clerk will

370   report the amendment.

371       Ms. Strasser.     Amendment in the nature of a substitute

372   to a resolution offered by Mr. Nadler.     Strike all after the

373   resolving clause and insert the following.

374       Chairman Nadler.      Without objection, the amendment in

375   the nature of a substitute will be considered as read and

376   shall be considered as --

377       Mr. Buck.    Mr. Chairman, I object.

378       Chairman Nadler.      -- as base text --

379       Mr. Buck.    Mr. Chairman, I object.    I would like to --

380       Chairman Nadler.      -- as base text for purposes of

381   amendment.    I will --
      Case 1:19-cv-02379-KBJ Document 1-20 Filed 08/07/19 Page 18 of 73



      HJU093000                                  PAGE      17


382       Mr. Collins.   Mr. Chairman, there is an objection to

383   the --

384       Chairman Nadler.   I will finish the sentence, and then I

385   will recognize the objection.

386       Mr. Collins.   Thanks.   Well, go right ahead.

387       [Laughter.]

388       Chairman Nadler.   Without objection, the amendment in

389   the nature of a substitute will be considered as read and

390   shall be considered as base text for purposes of amendment.

391       [The amendment of Chairman Nadler follows:]

392
      Case 1:19-cv-02379-KBJ Document 1-20 Filed 08/07/19 Page 19 of 73



      HJU093000                                     PAGE      18


393       Chairman Nadler.   Will the gentleman explain his

394   objection?

395       Mr. Buck.   Yeah, I want it read.    I object.

396       Chairman Nadler.   You want the resolution read?     Very

397   well.   The clerk will read the resolution.

398       Mr. Buck.   Thank you.

399       Chairman Nadler.   The clerk will read the amendment in

400   the nature of a substitute.

401       Ms. Strasser.   Amendment in the nature of a substitute

402   to a resolution offered by Mr. Nadler.     Strike all after the

403   resolving clause and insert the following:     "That upon the

404   adoption of this resolution, the chairman of the Committee of

405   the Judiciary is authorized to issue subpoenas for documents

406   and testimony relating to the following:      final report

407   authored by the Office of the Special Counsel, Robert S.

408   Mueller, III, pursuant to Order Number 3915-2017, and any

409   accompanying exhibits, annexes, tables, appendices, other

410   attachments, and all evidence referred to in the report; and

411   underlying evidence collected, materials prepared, or

412   documents used by the Office of the Special Counsel, Robert

413   S. Mueller, III, in the investigation conducted pursuant to

414   Order Number 3915, 2017.

415       In addition, the chairman at his discretion and as he

416   determines necessary, is authorized to issue subpoenas for

417   documents and testimony to the following individuals or to
      Case 1:19-cv-02379-KBJ Document 1-20 Filed 08/07/19 Page 20 of 73



      HJU093000                                   PAGE      19


418   agents who may have received documents from White House

419   relevant to the investigation on Special Counsel Robert S.

420   Mueller, III, conducted pursuant to Order Number 3915-2017,

421   thereby effecting a waiver of potential applicable

422   privileges:   Donald F. McGahn, II; Steven Bannon; Hope Hicks;

423   Reince Priebus;, Ann Donaldson.

424       This resolution is adopted pursuant to Rule 3 of the

425   Committee on the Judiciary and Clause 2(m) of Rule XI of the

426   U.S. House of Representatives."

427       Chairman Nadler.     I will recognize myself to explain the

428   amendment.

429       This amendment makes only technical changes to the

430   underlying resolution.    I would like to use my time to

431   elaborate on the point made in my opening statement, that

432   there is ample precedent from other investigations involving

433   allegations of wrongdoing by the President for the Judiciary

434   Committee to receive not just the full report, but all of the

435   underlying evidence, including grand jury material.

436       In the investigation of Bill Clinton, the independent

437   counsel, Ken Starr, produced to Congress a 445-page report,

438   several thousand pages of appendices, and 17 boxes of

439   underlying evidence and other materials.    These boxes

440   included all of the grand jury information protected by Rule

441   6(e) of the Federal Rules of Criminal Procedure.

442       The Starr report and the underlying evidence and
      Case 1:19-cv-02379-KBJ Document 1-20 Filed 08/07/19 Page 21 of 73



      HJU093000                                    PAGE      20


443   materials produced to this committee fill up volume after

444   volume of the record in the Clinton impeachment proceedings.

445   I am holding up only two of these many volumes that contain

446   some of the evidence and materials underlying the Starr

447   report that he produced to Congress.     Here is Volume 4, Part

448   2 and 3 that contain supplemental materials from the Starr

449   report.     All of these materials were delivered to the House

450   immediately Ken Starr completed the report.

451       Looking at Volume 4, Part 3, it is filled with the grand

452   jury testimony and other evidence from the Starr

453   investigation that was produced to the House Judiciary

454   Committee.    For example, on page 3341, there is grand jury

455   testimony of Stacy Desmond Porter.     Here is a copy of it.

456   There were boxes and boxes of such information produced by

457   Ken Starr.    Starr sought and obtained authorization from the

458   court overseeing the grand jury to share the grand jury

459   materials with Congress.    A similar order permitting Congress

460   to receive the grand jury materials in the Mueller

461   investigation can and should be obtained here.

462       The materials produced to Congress by Starr also

463   included the interview memoranda of the witnesses who agreed

464   to be voluntarily interviewed by Starr's office during his

465   investigation, all of which were produced to the House

466   Judiciary Committee.    For example, on page 3523, there is one

467   of the many memorandum investigation interviews of witnesses
      Case 1:19-cv-02379-KBJ Document 1-20 Filed 08/07/19 Page 22 of 73



      HJU093000                                    PAGE      21


468   by Starr and his staff.     This one is of Deborah Ann Schiff.

469   Here is a copy of it.     There were boxes of such information

470   produced by Ken Starr.     The same type of information has to

471   be produced here, especially when there were approximately

472   500 witnesses interviewed in the Mueller investigation as the

473   Attorney General stated in his March 24th letter to the House

474   and Senate Judiciary Committees.

475       In the Watergate investigation, the Justice Department

476   did exactly the same thing after the grand jury considered

477   evidence and issued a report describing potentially criminal

478   acts by President Nixon.     The Justice Department filed briefs

479   fully supporting disclosure of the report to the House

480   Judiciary Committee, and made the point that, "The need for

481   the House to be able to make its profoundly important

482   judgment on the basis of all available information is as

483   compelling as any that could be conceived."     And here are

484   just two of the volumes from the Nixon impeachment

485   proceedings that include some of the grand jury material,

486   just some of the grand material that was produced to

487   Congress, Volumes 7 and 8 from the hearings before the House

488   Judiciary Committee.

489       Looking at Volume 7, it is filled with grand jury

490   testimony and other evidence from the investigation that was

491   produced to the House Judiciary Committee.     For example, on

492   page 688 of Volume 8, there is the grand jury testimony of
      Case 1:19-cv-02379-KBJ Document 1-20 Filed 08/07/19 Page 23 of 73



      HJU093000                                     PAGE      22


493   Rosemary Woods.     Here is a copy of it.   There were volumes

494   and volumes of such information produced in the Watergate

495   investigation to the House Judiciary Committee.

496       These examples of Congress receiving all of the relevant

497   evidence in other analogous investigations helps show how

498   unprecedented it would be for Attorney General Barr to

499   withhold from Congress potentially significant portions of

500   Special Counsel Mueller's report and the underlying evidence

501   and materials.    The same type of information can and should

502   be produced here.

503       I ask unanimous consent to include these materials in

504   the record.

505       [The information follows:]

506
      Case 1:19-cv-02379-KBJ Document 1-20 Filed 08/07/19 Page 24 of 73



      HJU093000                                    PAGE       23


507       Chairman Nadler.     This subpoena authorization gives this

508   committee the ability to compel production of the full report

509   and related documents if the Attorney General departs from

510   these and other precedents and refuses to produce to Congress

511   the complete record of Special Counsel Mueller's

512   investigation.   I yield back the balance of my time.

513       I now recognize the ranking member of the Judiciary

514   Committee, the gentleman from Georgia, Mr. Collins, for any

515   comments he may have on the amendment in the nature of a

516   substitute.

517       Mr. Collins.   Thank you, Mr. Chairman.    As far as the

518   substitute, that is fine, but I am glad we are using props

519   today because this is what happening here.     The chairman

520   wants you to look at one thing when the reality is another

521   thing.   He is wanting you to look at this bottle of water and

522   say this is full, and then he is wanting you to look at this

523   bottle of water and say it is full, too.     It doesn't work.

524   You can't say the Starr report, or even going back to

525   impeachment which we will get to in a minute, and then come

526   along and say Mueller is full, too.    You see, it is the same.

527   They are not the same.

528       And as long as we perpetrate this fraud of saying that

529   they are the same, then we are going to continue this process

530   of saying that we have got a problem here because the Starr

531   report, which actually came out, let's actually speak to what
      Case 1:19-cv-02379-KBJ Document 1-20 Filed 08/07/19 Page 25 of 73



      HJU093000                                       PAGE        24


532   it said.     Starr had a requirement under the Independent

533   Counsel Act, 28 U.S.C. 595, to advise the House of

534   Representatives of any substantial credible information which

535   may constitute grounds for an impeachment.

536       Remember, it was the Janet Reno Justice Department after

537   the Starr report that rewrote the regulations that we are

538   under today.     Starr, Mueller, two different things.       And if

539   we understand this, then we can understand the problem we

540   have here.     I feel for the chairman.    He is trying to make an

541   analogy that just won't work.     He is doing as good a job as

542   he possibly can.     It just doesn't work.

543       The other interesting thing in here is he has used two

544   precedents for getting this information, both of which are

545   impeachment.     If the chairman truly wanted to get at this

546   information, then he can go to what I believe many in their

547   heart desire is open the impeachment inquiry.          Maybe that is

548   what we are going to get to today.        But if you use the

549   precedent of impeachment, not the precedent of subpoenas,

550   then there is a problem.

551       And we have got to understand this is nothing.          If this

552   was simply about the Mueller report today and we had waited

553   until after we got the Mueller report and we said there is

554   still stuff we don't like, then I could see this happening.

555   I could see why would we would come together and ask for

556   subpoenas.     Any attorney, that is what you do.       When you
      Case 1:19-cv-02379-KBJ Document 1-20 Filed 08/07/19 Page 26 of 73



      HJU093000                                      PAGE        25


557   don't get what you want, you ask for the subpoenas, not

558   beforehand when the Attorney General has already said I am

559   going to do this.

560       So the problem is, look, it is a tough problem.          I feel

561   for him.     But as long as you are trying to compare the full

562   and the empty and say they are both full, that is going to be

563   a problem.     The problem also I have with this is, is it just

564   isn't about the Attorney General and the Mueller report,

565   because he went ahead and added five other individuals.         Why

566   those five other individuals?     Let's take a look at the

567   names.

568       The five other individuals:        Don McGahn, Steve Bannon,

569   Hope Hicks, Reince Priebus, and Ann Donaldson, all of which

570   either gave information or answered and responded to their

571   initial letters.     Why these five?    They are close to the

572   President.     The closer you get to the President, the press

573   writes about it.     The press writes about associates of the

574   President and they get a subpoena.       Let's take this for what

575   it is.     We don't have our popcorn machine yet.      We are

576   getting it for our side because this is great political

577   theater.     But as long as they are trying to convince you that

578   this one and this one are the same, then we are going to down

579   the same sad road.     With that, Mr. Chairman, I yield back.

580       Chairman Nadler.     I thank the gentleman.       I just want to

581   comment on one thing.     The argument is made that the prior
      Case 1:19-cv-02379-KBJ Document 1-20 Filed 08/07/19 Page 27 of 73



      HJU093000                                   PAGE       26


582   history is irrelevant because Mr. Jaworski and Mr. Starr

583   operated under a different law than Mr. Mueller is operating.

584   That fact is true.    However, we have the same constitutional

585   rights as the committee did in those days, and we have the

586   same constitutional duty as the committee did in those days.

587   And we have the right and the necessity to get all the

588   information to fulfill our constitutional duty.

589       Are there any amendments to the amendment in the nature

590   of a substitute?

591       [No response.]

592       Chairman Nadler.    Hearing none --

593       Mr. Buck.    Mr. Chairman, I have an amendment.

594       Chairman Nadler.    The clerk will report the amendment.

595       Mr. Cicilline.     Mr. Chairman, I reserve a point of

596   order.

597       Chairman Nadler.    The gentlelady --

598       Mr. Collins.     The gentleman.

599       Chairman Nadler.    The gentleman reserves a point of

600   order.

601       Ms. Strasser.     Amendment to the amendment in the nature

602   of a substitute, offered by Representative Ken Buck, of

603   Colorado.    At the end of the resolution, insert the following

604   paragraph:    "This resolution shall not be construed as

605   authorizing the chairman to issue a subpoena for the

606   production of information where such production would violate
      Case 1:19-cv-02379-KBJ Document 1-20 Filed 08/07/19 Page 28 of 73



      HJU093000                                 PAGE      27


607   Rule 6(e) of the Federal Rules of Criminal Procedure."

608       [The information follows:]

609
      Case 1:19-cv-02379-KBJ Document 1-20 Filed 08/07/19 Page 29 of 73



      HJU093000                                      PAGE      28


610       Chairman Nadler.     The gentleman is recognized to explain

611   his amendment.

612       Mr. Buck.     Thank you, Mr. Chairman.    Mr. Chairman, in

613   Greek mythology, Prometheus looked down from the heavens and

614   saw man eating raw meat.     Out of pity, he stole fire from the

615   heavens, came to earth, and gave fire to man so man could

616   cook his food.     This gift had unintended consequences.       Man

617   used fire to forge metal into swords.     With new weapons man

618   went to war.     This is a cautionary tale about unintended

619   consequences, a lesson we should be mindful of today.

620       The current special counsel regulations were adopted in

621   1999 after Congress allowed the old independent counsel law

622   to expire.     These Clinton-era regs authorized the appointment

623   of Robert Mueller as special counsel and guided his

624   investigation.     They also limit what the AG can release.       So

625   they strike a balance between disclosure and protection of

626   classified and grand jury information.       This resolution,

627   however, leads us down the wrong path.       The resolution fails

628   to ensure certain information remains protected.       This will

629   have unintended consequences.

630       First, this resolution risks politicizing future special

631   counsel investigations.     By protecting grand jury information

632   from public release, the regs encourage the special counsel

633   to produce a candid report for the AG.       By compelling release

634   of an unredacted report, however, the committee risks
      Case 1:19-cv-02379-KBJ Document 1-20 Filed 08/07/19 Page 30 of 73



      HJU093000                                    PAGE        29


635   chilling future investigations and jeopardizes the special

636   counsel process.    This will not serve justice.     It will

637   undermine it.

638       Second, the public release of the full report could

639   compromise intelligence sources and methods.       General Barr

640   expressed concern about this issue in a March 29th letter to

641   Chairman Nadler.    As much as Democrats may hate the

642   President, I would hope you love America more.       If love

643   trumps hate, we should afford the AG time to redact

644   classified information before providing us with a report that

645   could be shared with the public.

646       Third, this resolution fails to protect grand jury

647   information from disclosure.    This is information that by law

648   needs to be protected as confidential.     Under the regs, the

649   AG is required to redact this information.     General Barr

650   wrote to the chairman on March 29th that, "We are preparing

651   the report for release, making the redactions that are

652   required.    The special counsel is assisting us in this

653   process.    Specifically, we are well along in the process of

654   identifying and redacting the following:     materials subject

655   to Federal Rule of Criminal Procedure 6(e) that by law cannot

656   be made public."

657       Rule 6(e) is information produced in front of the grand

658   jury.   As a former prosecutor, I hold the grand jury process

659   and the protection against disclosure sacrosanct.       I would
      Case 1:19-cv-02379-KBJ Document 1-20 Filed 08/07/19 Page 31 of 73



      HJU093000                                    PAGE      30


660   urge my colleagues do not undermine the grand jury process

661   for the sake of politics.   This sets a dangerous precedent

662   that is dangerously short-sighted.

663       My amendment is simple.   It modifies the resolution to

664   limit the subpoena to exclude production of any information

665   related to grand jury materials.   This amendment is

666   consistent with the special counsel regs that have been in

667   place for 20 years over which time Democrats and Republicans

668   in Congress during two Democratic administrations and two

669   Republican administrations have respected.

670       This amendment is also completely consistent with H.

671   Con. Res. 24, Chairman Nadler's resolution that the House

672   passed by a vote of 420-0 on March 14th.     If you voted for

673   Chairman Nadler's resolution 3 weeks ago, you essentially

674   voted for the special counsel regulations, and you also voted

675   to protect grand jury information from disclosure, the

676   principle found in my amendment.   For the sake of

677   consistency, you should report my amendment today.     It will

678   help ensure we avoid unintended consequences.

679       I ask unanimous consent that Attorney General Barr's

680   letter of March 29th, 2019 to Chairman Nadler to be included

681   in the record.

682       Chairman Nadler.   Without objection.

683       [The information follows:]

684
      Case 1:19-cv-02379-KBJ Document 1-20 Filed 08/07/19 Page 32 of 73



      HJU093000                                    PAGE        31


685       Mr. Buck.     I urge a yes vote on the amendment.

686       Chairman Nadler.     Does the gentleman from Rhode Island

687   insist on his point of order?

688       Mr. Cicilline.     I do not, Mr. Chairman.

689       Chairman Nadler.     The gentleman from Rhode Island does

690   not insist on his point of order.     I will now recognize

691   myself in opposition to the amendment.

692       The amendment says that "This resolution shall not be

693   construed as authorizing a subpoena for the production of

694   Rule 6(e) information."    This committee's request for grand

695   jury materials, which is to say the 6(e) information, is

696   fully consistent with past instances which I have outlined in

697   my initial comments in which the Justice Department has

698   provided this information to Congress.     The Justice

699   Department can provide these materials to Congress by seeking

700   authorization from the District Court as it has in the past.

701       In response, for example, to Republican-led

702   congressional requests, the Justice Department turned over

703   unprecedented levels of materials in the 114th and 115th

704   Congress, including classified materials, deliberative

705   process documents, and information related to ongoing

706   investigations.    We need these materials to fulfill our

707   constitutional obligations, period.     Our chief constitutional

708   obligation is to hold the President accountable, especially

709   in an instance where the Department of Justice says it cannot
      Case 1:19-cv-02379-KBJ Document 1-20 Filed 08/07/19 Page 33 of 73



      HJU093000                                    PAGE        32


710   hold the President accountable because, as a matter of law,

711   you cannot indict a president and in which the Attorney

712   General tells us that a president cannot commit obstruction

713   of justice.

714       Those judgments must be made by Congress, not by a

715   political appointee, the Attorney General.    We need this

716   information to make those judgments, and the interests can be

717   protected by this Congress deciding which of that information

718   can be released publicly.    But Congress is entitled to all of

719   it, and, therefore, I ask opposition to this amendment.

720       Is there any other discussion on the amendment?

721       Mr. Sensenbrenner.     Mr. Chairman?

722       Chairman Nadler.     The gentleman from Wisconsin.

723       Mr. Sensenbrenner.     Mr. Chairman, I move to strike the

724   last word.

725       Chairman Nadler.     The gentleman is recognized.

726       Mr. Sensenbrenner.     Mr. Chairman, the chair and his

727   supporters are putting the cart before the horse.       And I just

728   draw the attention of the committee to today's Roll Call,

729   hardly a Republican mouthpiece.    And what does it say?

730   "Mueller magic not in subpoenas.    Democrats can send a

731   message, but it is one without teeth."     I will delegate

732   myself to become a dentist for the next 4-and-a-half minutes.

733       The chairman of the committee, the distinguished

734   gentleman from New York, you know, says there was grand jury
      Case 1:19-cv-02379-KBJ Document 1-20 Filed 08/07/19 Page 34 of 73



      HJU093000                                    PAGE        33


735   material that was submitted both in the Nixon and Clinton

736   impeachments.    That is correct, but that grand jury material

737   was submitted only after the court in D.C. allowed it to be

738   shared with Congress and made public.     That has not happened

739   in this case if there is any grand jury material in the

740   Mueller report, and I think we all know that there is grand

741   material in the Mueller report.

742       So the thing to do to put teeth into a subpoena is for

743   Congress and this committee to go to court and to ask for an

744   order allowing for the release of the grand jury material.

745   Otherwise, you are going to see the Justice Department move

746   to quash the subpoena that I am sure will be issued today,

747   and it will be in courts for months and maybe years until the

748   Supreme Court decides this issue because it is a dispute

749   between the legislative and executive branches of government.

750       Chairman Nadler.     Will the gentleman yield?

751       Mr. Sensenbrenner.     Let me finish, please.    And I will

752   be happy to be a co-plaintiff in the motion before the

753   district court as I am sure all of us would be because the

754   resolution that was passed 3 weeks ago was passed

755   unanimously.    I voted for it.   All of my Republican

756   colleagues voted for it.    And the way to get the material

757   that is sought by this subpoena quickly, promptly, and

758   without extended litigation is to go to court and get the

759   same kind of order that Mr. Starr got when he sent his
      Case 1:19-cv-02379-KBJ Document 1-20 Filed 08/07/19 Page 35 of 73



      HJU093000                                   PAGE      34


760   material over as independent counsel and what Mr. Jaworski

761   got when he sent his material over as special prosecutor in

762   the Richard Nixon impeachment.

763       Now, secondly, I think we all want to get to the bottom

764   of this, and it is only full disclosure, in my opinion, that

765   will get to the bottom of this.    The law requires that there

766   be certain conditions precedent to get that full disclosure,

767   one of which, as far as the grand jury material and Rule 6(e)

768   of the Federal Rules of Criminal Procedure, is going to court

769   and getting the order, if the court should so desire and be

770   required to, to allow the Justice Department to release this

771   material.   Otherwise, the Justice Department puts itself in

772   the same position as a grand jury witness who breaks the

773   secrecy rule and releases his or her testimony before the

774   grand jury, and that is a Federal crime.

775       So, you know, it seems to me that if we want to protect

776   witnesses under the same rule that the Justice Department is

777   being protected, we ought to do what we need to do first, and

778   that is go to court and let the judge make the decision.       And

779   now I am happy to yield to the chairman.

780       Chairman Nadler.   I thank the gentleman for yielding.

781   We will, as appropriate, go to court.    We think we need a

782   subpoena first, but we will go to court.    We have asked the

783   Attorney General to go to court.    He has thus far declined

784   our request, but we will do whatever is necessary, be it
      Case 1:19-cv-02379-KBJ Document 1-20 Filed 08/07/19 Page 36 of 73



      HJU093000                                      PAGE       35


785   subpoena or courts, to get this material.

786       Mr. Sensenbrenner.     You know, reclaiming my time, you

787   know, the thing is, is Mr. Starr got the appropriate order

788   without us being on his back.    Jaworski got the appropriate

789   order without the Judiciary Committee being on its back.        And

790   that material was used in both the Nixon and in the Clinton

791   impeachments.

792       Mr. Cicilline.     Will the gentleman yield for a question?

793       Mr. Sensenbrenner.     No, I will not.    And as I recall

794   there were obstruction of justice articles of impeachment

795   voted out by this committee, and, in the case of Clinton,

796   approved by the House of Representatives, and that was an

797   issue in both of those impeachments.     So, you know, again,

798   look at Roll Call, you know.    Again, Roll Call is not printed

799   by the Koch brothers, and it says "Democrats can send a

800   message, but it's one without teeth."     It is about time that

801   when we want to send a message, we send one with teeth, and

802   hopefully the rest of the news media will not be duped as

803   Roll Call was not in getting it right.       Thank you.

804       Chairman Nadler.     The gentleman's time has expired.      The

805   gentlelady from Texas.

806       Ms. Jackson Lee.     I thank the gentleman, and I thank my

807   colleagues, both Republicans and Democrats, who sit on this

808   committee to do justice and to adhere to the rule of law.        As

809   I read the resolution proposed by the chair and the majority,
      Case 1:19-cv-02379-KBJ Document 1-20 Filed 08/07/19 Page 37 of 73



      HJU093000                                    PAGE      36


810   it provides an authorization.   It does not dictate an

811   issuance of a subpoena.   And I refer to my colleagues to

812   really some of the underlying reasons why we need to move

813   forward on a subpoena.    For all we know, the Attorney General

814   may respond and present us with the Mueller report in its

815   totality today at the end of business.

816       But in his letter on March 24th, the Attorney General

817   started out by saying that it was his intent to summarize the

818   principle conclusions reached by the special counsel.       And of

819   course he tried to walk that back, but, in essence, he tried

820   to give us 4 pages as a complete summary of the entire

821   Mueller report.   He goes on to say on the question of

822   obstruction of justice that the DOJ did not make a

823   traditional prosecutorial judgment.     That may be accurate,

824   but the standards that you adhere to by the second

825   constitutional body, the executive in Article II, has larger

826   parameters as to whether or not the Administration followed

827   the rule of law and actually adhered to guidelines or actions

828   appropriate for a president of the United States.

829       Further, the Attorney General attempted to swat away the

830   idea of any Russian coordination.     He did that by suggesting

831   that the attorney, Mueller, did not find an underlying crime,

832   and, therefore, refused to move forward on the obstruction,

833   refused to move forward on the obstruction on the basis of

834   not an indictment or a crime.    And we also know that Attorney
      Case 1:19-cv-02379-KBJ Document 1-20 Filed 08/07/19 Page 38 of 73



      HJU093000                                      PAGE         37


835   General Barr has already made his point very clear about his

836   position on the indictment of a President.       We do not sit

837   here in the role of a grand jury to indict the President, but

838   we sit here as a body that to proceed with its constitutional

839   duties to provide oversight and transparency.

840          Let me share with my colleagues what has happened in the

841   past.    Dan Burton, former chair of the Oversight Committee,

842   issued a thousand unilateral subpoenas in the 1990s regarding

843   the Clinton Administration.       Lamar Smith of the Science

844   Committee issued 25 subpoenas in his first year of

845   chairmanship.    Before 2015, this committee had not issued one

846   subpoenas in 21 years.       Chairman Issa issued 100-plus

847   subpoenas, exceeding by over 20 percent the number of

848   subpoenas from Dems and Republicans, lawmakers of any

849   committee.    And then Chairman Gowdy of the Benghazi

850   Committee, who sent U.S. marshals to 70 witness' homes

851   without asking one of them to come voluntarily.          I, frankly,

852   believe that we are being both fair and balanced in our

853   efforts --

854          Mr. Sensenbrenner.    Would the gentlewoman yield?

855          Ms. Jackson Lee.     I would be happy to yield.

856          Mr. Sensenbrenner.    Just for the record, I was chair of

857   this committee for 6 years, and I didn't sign one subpoena at

858   all.    You know, I got what I needed out of the Administration

859   without having to compel it.       So there is a difference
      Case 1:19-cv-02379-KBJ Document 1-20 Filed 08/07/19 Page 39 of 73



      HJU093000                                    PAGE       38


860   between nice and being less than nice.

861       Ms. Jackson Lee.    Mr. Sensenbrenner, thank you.     I am

862   restoring my time.   I am reclaiming my time.   As you well

863   know, you have not been mentioned.    You have not been

864   mentioned, nor has the Judiciary Committee been mentioned.

865   But the point being made is that there has been a history of

866   subpoenas offered in other areas in other committees.

867       And in this instance, I think the Judiciary Committee is

868   being extremely fair.   So thank you so very much for that

869   clarification that Chairman Sensenbrenner did not, but in

870   this instance, I believe that the committee is being fair.

871   Mr. Nadler is being fair.   This is a resolution to authorize

872   the issuance of a subpoena, and I ask my colleagues to

873   support this resolution.    I yield back.

874       Chairman Nadler.    Thank you.   The gentleman from

875   Arizona, Mr. Biggs, is recognized.

876       Mr. Biggs.   Thank you, Mr. Chairman.    I ask unanimous

877   consent that an article published April 1st, 2019 in the

878   Atlantic written by Ben Wittes and entitled, "Bill Barr Has

879   Promised Transparency," be entered into the record.

880       Chairman Nadler.    Without objection.

881       [The information follows:]

882
      Case 1:19-cv-02379-KBJ Document 1-20 Filed 08/07/19 Page 40 of 73



      HJU093000                                     PAGE      39


883       Mr. Biggs.     Thank you.   Wittes is the editor-in-chief of

884   Lawfare and a senior fellow at the Brookings Institution.

885   That is the same think tank where Norm Eisen, a member of the

886   chairman's staff, is also a senior fellow, and Barry Berke,

887   another member of the chairman's staff, has published

888   extensively.     And with that, I yield to the gentleman from

889   Colorado, Mr. Buck.

890       Mr. Buck.     I thank the gentleman from Arizona.   Mr.

891   Chairman, we are discussing basically what the standard is

892   for the release of grand jury testimony in the context of an

893   independent counsel or special counsel investigation.        And

894   thankfully you announced the standard on September 9th, 1998

895   when you appeared on the Charlie Rose Show.      That is the same

896   day that independent counsel, Ken Starr, and I will repeat

897   that, the same day that independent counsel, Ken Starr,

898   delivered his report into the Clinton investigation to

899   Congress.

900       Here is what you said when explaining why it would be

901   unwise and unfair to release grand jury materials.      "Now, Mr.

902   Starr in his transmittal letter to the Speaker and the

903   Minority Leader made it clear that much of this material is

904   Federal Rule 6(e) material.     That is material that by law,

905   unless contravened by a vote of the House, must be kept

906   secret.     It is grand jury material.   It represents statements

907   which may or may not be true by various witnesses, salacious
      Case 1:19-cv-02379-KBJ Document 1-20 Filed 08/07/19 Page 41 of 73



      HJU093000                                   PAGE      40


908   material, all kinds of material that it would be unfair to

909   release."    Our chairman even went so far as to suggest in

910   that interview that certain material "must not be released at

911   all."

912       I do want to mention that under the independent counsel

913   statute, Congress held a statutory role of oversight so it

914   would have at least been proper for Congress to consider if

915   grand jury materials should be released, but that law has

916   expired.    Under current law, the Attorney General is left

917   with the responsibility of protecting grand jury materials, a

918   different person responsible for deciding, a different

919   responsibility all together.    Despite changes in the law, the

920   chairman's concerns from 1998 about the questionable value in

921   releasing grand jury material and the need to protect those

922   materials are still true today.

923       The chairman's position was also on display 3 weeks ago

924   when the House unanimously approved his resolution, H. Con.

925   Res. 24, calling for the release of the special counsel

926   report while excluding from disclosure any information

927   protected by law which would necessarily protect grand jury

928   material.    Nevertheless, in a New York Times op-ed this week,

929   the chairman wrote, "The Department of Justice has an

930   obligation to provide it," meaning the full Mueller report,

931   "in its entirety without delay."

932       Mr. Chairman, you had it right over 20 years ago.      You
      Case 1:19-cv-02379-KBJ Document 1-20 Filed 08/07/19 Page 42 of 73



      HJU093000                                      PAGE        41


933   supported the protection of grand jury information, and I

934   agree with that.    You had it right 3 weeks ago.       Everyone on

935   this committee voted for your resolution to protect against

936   the release of 6(e) materials.     Mr. Chairman, Attorney

937   General Barr agrees with you.     Last week he wrote to you to

938   tell that he was working with the special counsel to redact

939   grand jury materials.

940       Your historic standard, one you held for 7,492 days,

941   from September 8th, 1998 at least until March 14th, 2019, is

942   the same standard that can be found in my amendment.         The

943   standards says the grand jury materials should not be

944   disclosed.   That is the right standard, and I urge the

945   committee to adopt the standard.       And I yield back to the

946   gentleman from Arizona.

947       Mr. Biggs.     Reclaiming my time.

948       Mr. Cicilline.     Mr. Chairman?

949       Chairman Nadler.     The gentleman from Rhode Island.

950       Mr. Biggs.     Excuse me.   I still have time.     I reclaimed

951   my time.

952       Chairman Nadler.     Oh, I am sorry.

953       Mr. Biggs.     Thank you.

954       Chairman Nadler.     Mr. Biggs, continue.

955       Mr. Biggs.     Thank you, Mr. Chairman.     I support the Ken

956   Buck, Representative Buck's, amendment to the amendment in

957   the nature of a substitute to the resolution.         And one thing
      Case 1:19-cv-02379-KBJ Document 1-20 Filed 08/07/19 Page 43 of 73



      HJU093000                                   PAGE        42


958   I want to point out is that when I hear people intimate that

959   the chairman merely has the authorization to issue a

960   subpoena, I get this feeling that maybe this isn't a done

961   deal.   But it is a done deal because the chairman in his

962   response to the gentleman from Wisconsin said very clearly

963   that before going to court we are going to issue a subpoena.

964       So the normal process would naturally be to go to the

965   court and ask for this information to be made available, but

966   that is not what is going to happen here.    You are going to

967   see subpoenas issued, and they are going to be issued

968   because, as the chairman said in his opening statement, the

969   Attorney General may do this, and I am paraphrasing of

970   course, and President Trump may do that.    In other words, he

971   would suggest that this would be conditional, but he is

972   acting and this resolution is going to go forward regardless

973   of what Mr. Barr provides, even if it is in compliance with

974   Rule 6(e).   My time has expired.

975       Chairman Nadler.     The gentleman from Rhode Island.

976       Mr. Cicilline.     Thank you, Mr. Chairman.    I move to

977   strike the last word.

978       Chairman Nadler.     The gentleman is recognized.

979       Mr. Cicilline.     Mr. Chairman, I just want to make two

980   brief points.   One is the gentleman from Wisconsin referenced

981   the Starr report and the Jaworski report as precedent for not

982   issuing a subpoena and, in fact, going to court.      It should
       Case 1:19-cv-02379-KBJ Document 1-20 Filed 08/07/19 Page 44 of 73



       HJU093000                                    PAGE        43


 983   be noted that in both of those cases the special and

 984   independent counsel went to court to seek authorization for

 985   the release of the grand jury testimony before it was

 986   delivered to Congress.    They did that on their own.     It

 987   didn't require Congress to litigate it.

 988         So those individuals recognized that it was important

 989   when they delivered the report to also deliver the underlying

 990   documents, and they sought permission from the court to do

 991   it.   That has not happened in this case.    In fact, Mr. Barr

 992   has done just the opposite.     He has attempted to keep this

 993   information from Congress.     So the notion that we should just

 994   wait and sort of pray and hope that Mr. Barr will suddenly

 995   find his way to the courthouse to seek authorization, I

 996   think, is foolish.    This subpoena will require him to take

 997   that action because as the gentleman from Wisconsin said, he

 998   could move to quash the subpoena.     That is one course of

 999   action.     He could also go to court and move for the

1000   production of 6(e) materials so he can comply with the

1001   subpoena, and that is what we are hoping he will do if, in

1002   fact, they are interested in getting this information for

1003   Congress.

1004         So I urge my colleagues to oppose this amendment, to set

1005   the precedent so that, in fact, this committee can get the

1006   full report and all the supporting materials so we can do our

1007   oversight responsibility.     And as the chairman said, our
       Case 1:19-cv-02379-KBJ Document 1-20 Filed 08/07/19 Page 45 of 73



       HJU093000                                   PAGE        44


1008   constitutional responsibilities have not changed even if some

1009   regulation has.    I urge a no vote on the amendment and yield

1010   the balance of my time to the chairman.

1011       Chairman Nadler.    I thank the gentleman.

1012       I just want to point out that I was right 21 years ago,

1013   I am right now, and it is totally consistent, because we are

1014   urging now that the underlying 6(e) material be produced to

1015   the committee.    In 1998, that material had been produced to

1016   the Congress, and what we were discussing was its release to

1017   the public.   And before 6(e) material is released to the

1018   public, it has to be reviewed if some of it should not be

1019   released to the public for privacy and other reasons.        But

1020   that determination was made then by Congress, and it should

1021   be made now by Congress.

1022       We are asking now that the material be given to Congress

1023   so we can fulfill our constitutional responsibilities.        In

1024   1998, the material had been given prior to that debate to

1025   Congress so Congress could fulfill its constitutional

1026   responsibilities, and my comments on the floor then and the

1027   debate then was not about whether the material should go to

1028   Congress; it already had.    It was about whether it should be

1029   released to the public in its entirety, and I said then that

1030   you cannot release 6(e) material entirely to the public

1031   without reviewing it, and that is still true.      But it was

1032   then and should be now released to the Congress, to this
       Case 1:19-cv-02379-KBJ Document 1-20 Filed 08/07/19 Page 46 of 73



       HJU093000                                     PAGE      45


1033   committee, in its entirety.

1034       Mr. Sensenbrenner.     Would the gentleman yield?

1035       Chairman Nadler.     Yes, I will yield.

1036       Mr. Sensenbrenner.     Would the gentleman report releasing

1037   to the public the material that we redacted in the Clinton

1038   impeachment?

1039       Mr. Cicilline.     I will reclaim my time.   I would like to

1040   focus on the issue before this committee.     I am reclaiming my

1041   time, Mr. Chairman.

1042       But I again want to suggest that this is an important

1043   responsibility to this committee to ensure that no one is

1044   above the law, that we follow the facts where they lead us,

1045   that this investigation was conducted on behalf of the

1046   American people.   When our democracy was attacked by a

1047   foreign adversary, we fought hard to protect Mr. Mueller so

1048   he could complete his work free from political interference,

1049   and now we have a right, this committee has the right and the

1050   responsibility to see the full contents of this report and

1051   the supporting materials, and I urge a no on this amendment

1052   and yield the balance of my time to the Chairman.

1053       Chairman Nadler.     I thank the gentleman for yielding.

1054       Again, we have the right and the duty to protect certain

1055   material from public disclosure.    If we redacted it from the

1056   public 20 years ago, I assume we had good reason to do that.

1057   But the question before us now is not public release of
       Case 1:19-cv-02379-KBJ Document 1-20 Filed 08/07/19 Page 47 of 73



       HJU093000                                   PAGE         46


1058   information.    It is release to Congress to do our

1059   constitutional duties, and it is a very different situation.

1060       I yield back to the gentleman.

1061       Mr. Cicilline.     I yield back, Mr. Chairman.

1062       Chairman Nadler.     The gentleman from Texas, Mr.

1063   Ratcliffe, is recognized.

1064       Mr. Ratcliffe.     Thank you, Mr. Chairman.

1065       I move to strike the last word.

1066       Mr. Chairman, I have been listening to the arguments

1067   this morning.    I have been trying to decide what is worse.

1068   Was it last week when within 24 hours of the Attorney General

1069   issuing his summary of the Mueller findings I listened to the

1070   Chairman of the House Intelligence Committee, Adam Schiff,

1071   demand the immediate full release of the Mueller report

1072   without consideration for classified information?     The

1073   Chairman of the Intelligence Committee telling all 17

1074   intelligence agencies over which he had oversight essentially

1075   I do not give a damn about classified information, I want the

1076   full release of that report.

1077       Or was it this week, when I am sitting here today

1078   listening to the Chairman of the Judiciary Committee say I do

1079   not care what the law says, I do not care what the Special

1080   Counsel regulations say, I do not care that the Attorney

1081   General has complied with both, that the Attorney General has

1082   done everything the law requires, everything the Special
       Case 1:19-cv-02379-KBJ Document 1-20 Filed 08/07/19 Page 48 of 73



       HJU093000                                  PAGE        47


1083   Counsel regulations require, and is promising to do more, but

1084   that is not good enough, and now he is going to be subpoenaed

1085   for that.

1086       In that theater of the absurd, I am still trying to

1087   decide which of those is worse.   The Attorney General did not

1088   comply with the Democrats’ arbitrary April 2nd demand

1089   deadline because he cannot comply, because the law precludes

1090   him from complying, because the Attorney General was not

1091   going to commit crimes to comply with that deadline.

1092       Mr. Chairman, today I heard you say over and over again

1093   Congress requires, Congress requires, there are

1094   constitutional rights, or there is a necessity for this

1095   information.   What I did not hear was what law the Special

1096   Counsel -- where in the Special Counsel regulation does it

1097   say that the Attorney General must turn over an un-redacted

1098   full Special Counsel report?   The Special Counsel regulation

1099   does not say that.   No law says that.

1100       The Attorney General has promised to provide as much

1101   transparency as he possibly can, but I am afraid that is

1102   never going to be good enough for some in here, and that is

1103   because we are here having this argument because some, not

1104   all, of my Democratic colleagues promised the American people

1105   evidence that never existed.   Some, not all, Democrats

1106   shouted fire in the theater of the American public, feeding a

1107   false Trump-Russia collusion narrative that never existed and
       Case 1:19-cv-02379-KBJ Document 1-20 Filed 08/07/19 Page 49 of 73



       HJU093000                                      PAGE      48


1108   that, in fact, some Democrats created with a fake, phony

1109   dossier.

1110       Now Special Counsel Mueller, who some Democrats demanded

1111   be protected so that he could do his job, did his job, and

1112   the minute that he finished doing that job and said no

1113   collusion, that the Trump-Russia collusion narrative does not

1114   exist, is not real, protect Bob Mueller suddenly has become

1115   to hell with Bob Mueller.

1116       I have always believed that Bob Mueller could write the

1117   definitive narrative on how Russia tried to meddle in our

1118   election.     I have never called what Bob Mueller was doing in

1119   that regard a witch hunt.     But Bob Mueller has provided his

1120   findings to the Attorney General, who has accurately

1121   summarized those.

1122       And with respect to Trump-Russia collusion, Bob Mueller

1123   has said there are no witches.       So these investigations

1124   should end.     We should move on.    We should not be issuing

1125   subpoenas today.

1126       But if we are going to issue subpoenas today, let’s not

1127   issue a subpoena for the Mueller report.       Let’s issue one for

1128   Bob Mueller.

1129       Mr. Cohen.     Would the gentleman yield?

1130       Mr. Raskin.     Would the gentleman yield?

1131       Mr. Ratcliffe.     Let me finish this thought.

1132       Let Bob Mueller come and let’s ask Bob Mueller whether
       Case 1:19-cv-02379-KBJ Document 1-20 Filed 08/07/19 Page 50 of 73



       HJU093000                                     PAGE         49


1133   or not he thinks that the report that he created should be

1134   disclosed without considerations of redactions of classified

1135   national security information or without redactions for grand

1136   jury information or other information relating to ongoing

1137   investigations.    I may have questioned Bob Mueller’s actions

1138   in certain regards, but I have never questioned his

1139   integrity, and I would be happy to hear his answer under oath

1140   before this committee with respect to that issue.

1141       So I urge all my colleagues to follow the law and to

1142   therefore support the Buck amendment.

1143       And I yield to the gentleman from Georgia.

1144       Chairman Nadler.     The gentleman’s time has expired.

1145       Mr. Ratcliffe.     I yield back.

1146       Chairman Nadler.     The gentleman from Tennessee.

1147       Mr. Cohen.     Thank you, Mr. Chairman.

1148       I was just going to say that Mr. Ratcliffe, who I

1149   respect greatly, said that Mr. Barr accurately described the

1150   Mueller report.    We do not know that.   That is why we want to

1151   see it, so we can know if he accurately did.         He talked about

1152   he went through fire.    He might be suggesting I am one of

1153   those fire throwers.    I want to find out if I was wrong, and

1154   I want the public to see it too.

1155       I yield back the balance of my time.

1156       Chairman Nadler.     The gentleman from Texas, Mr. Gohmert.

1157       Mr. Gohmert.     Thank you, Mr. Chair.
       Case 1:19-cv-02379-KBJ Document 1-20 Filed 08/07/19 Page 51 of 73



       HJU093000                                  PAGE      50


1158       I have to say, I witnessed one of the proof positive of

1159   the brilliant mental acumen of our Chairman as he explained

1160   adroitly how he was right 21 years ago and is right today,

1161   just a work of beauty and argument.

1162       As Chairman said, 21 years ago, we should always

1163   remember this as a prosecutor’s report by its nature.     It is

1164   one-sided.   I also said it was salacious material, all kinds

1165   of material that it would be unfair to release.

1166       I would point out the gentleman did not know exactly

1167   what all the material was at that time, and we do not know at

1168   this time either.   In February 1999, a New York Times

1169   article, our current Chairman called the Starr report and

1170   impeachment efforts a “partisan coup d’état.”

1171       What has gone on in this country did absolutely,

1172   unequivocally, no doubt about it involve collusion of people

1173   at the highest level with a foreign entity to try to bring

1174   down a candidate and then bring down a sitting president.

1175   That was collusion between top FBI officials, Justice

1176   officials, a former MI6 intelligence officer who has been

1177   discredited by those same Justice officials, FBI officials,

1178   but they colluded with him to try to bring down a candidate

1179   and now a sitting president.

1180       Enough is enough.   At some point, we have to say what

1181   will be written in the annals of history of this country as

1182   an outrageous attempt at a real coup d’état was unsuccessful.
       Case 1:19-cv-02379-KBJ Document 1-20 Filed 08/07/19 Page 52 of 73



       HJU093000                                    PAGE      51


1183   The truth came out about who really colluded with foreign

1184   agents.

1185         And by the way, they did involve the Democrats’ campaign

1186   and a foreign agent who was colluding with some of Putin’s

1187   agents, in all likelihood, as he was not even in Russia but

1188   was talking by phone to Russian agents in his efforts to help

1189   the Clinton campaign and top Justice officials bring down a

1190   sitting president.   And for us to continue this outrageous

1191   assault on the office of president, even after the truth has

1192   come out that there was no conspiracy by the Trump campaign

1193   or President Trump or anybody in his family with Russia, and

1194   to continue to push, we are still going to make a big deal

1195   out of this, we cannot stand the fact that the facts show it

1196   was the Democrats that colluded with foreign agents to try to

1197   change the outcome of the election.

1198         Enough is enough, for heaven’s sake.   Let’s please move

1199   on.   There was a time when I loved and appreciated the

1200   current Chairman’s desire to protect privacy rights.      I saw

1201   that dramatically eroded during the Obama Administration, but

1202   I am still hoping and praying that our now-Chairman’s once

1203   great desire to protect privacy rights and to try to hold

1204   back the bounds of what Orwell described as happening now --

1205   obviously, the only thing you got wrong was the year, because

1206   we have seen what the Obama Administration did with those

1207   Orwellian abilities to spy on American citizens.
       Case 1:19-cv-02379-KBJ Document 1-20 Filed 08/07/19 Page 53 of 73



       HJU093000                                      PAGE     52


1208       It is time to go back and clean up the mess that has

1209   been made over years of abuse.    And this subpoena, the

1210   subpoenas is not what we need to be voting for, and I support

1211   my friend’s amendment.

1212       I yield back.

1213       Chairman Nadler.     The gentleman yields back.

1214       The gentleman from Georgia is recognized.

1215       Mr. Johnson of Georgia.     I move to strike the last word.

1216       Chairman Nadler.     The gentleman is recognized.

1217       Mr. Johnson of Georgia.     I yield to the gentle lady from

1218   Texas.

1219       Ms. Jackson Lee.     Thank you very much.

1220       I wanted to read into the record the information

1221   regarding the Chairman of the Benghazi committee sent U.S.

1222   Marshalls to witness without asking that witness to come in

1223   voluntarily.

1224       And I yield back, Mr. Chairman.

1225       Chairman Nadler.     Does the gentleman from Georgia yield

1226   back?

1227       Mr. Johnson of Georgia.     I yield back.

1228       Chairman Nadler.     The gentle lady from Arizona, Ms.

1229   Lesko.

1230       Mrs. Lesko.     Thank you, Mr. Chairman.

1231       I want to move to strike the last word.

1232       Chairman Nadler.     The gentle lady is recognized.
       Case 1:19-cv-02379-KBJ Document 1-20 Filed 08/07/19 Page 54 of 73



       HJU093000                                    PAGE      53


1233          Mrs. Lesko.   Thank you.

1234          Mr. Chairman, I support Representative Buck’s amendment.

1235   What basically we are doing here is, in my opinion, the

1236   Democrats are asking Attorney General Barr to violate the

1237   law.     It is not only against the law, but it would even be

1238   criminal to disclose grand jury material without a court

1239   order.

1240          It is obvious to me that this is just a continuation of

1241   an attempt to undermine the President of the United States.

1242   For the last two years, members on this committee have said

1243   that there has been collusion with the Trump Administration

1244   and President Trump with Russia to undermine the 2016

1245   election, and as revealed in the summary, this is absolutely

1246   not true.

1247          So I really wish that we could work on big issues

1248   instead of continuing this circus on undermining the

1249   President of the United States.     I serve on three committees,

1250   and on every single committee it is obvious from the very

1251   first organizational meeting that there is a coordinated

1252   attempt by the Democrats to undermine the President of the

1253   United States, and this is all about the 2020 presidential

1254   election.

1255          The public really wants us to work on big issues

1256   together, and I ask my Democratic colleagues to do that and

1257   quit this circus.
       Case 1:19-cv-02379-KBJ Document 1-20 Filed 08/07/19 Page 55 of 73



       HJU093000                                    PAGE        54


1258       I will yield time to the gentleman, Mr. Jordan, from

1259   Ohio.

1260       Mr. Jordan.     I thank the gentle lady for yielding, and I

1261   too wish to support the Buck amendment.

1262       I would just ask the fundamental question:      Why are we

1263   here?   It seems to me we are here because the Mueller report

1264   was not what the Democrats thought it was going to be.        In

1265   fact -- in fact -- it was just the opposite.

1266       What did the Attorney General tell us that the principal

1267   findings of Mr. Mueller’s report were?     No new indictments,

1268   no sealed indictments, no collusion, no obstruction.

1269       Mr. Cicilline.     Would the gentleman yield?

1270       Mr. Jordan.     I only got a little bit of time because --

1271       Mr. Cicilline.     I only have a short question.     You made

1272   reference to the Mueller report.     Have you seen it?    Because

1273   we have not.

1274       Mr. Jordan.     I have seen the principal findings from the

1275   Attorney General.

1276       Mr. Raskin.     Would the gentleman yield for a quick

1277   question?   I promise it is short.

1278       You reported that the report states that there is no

1279   obstruction.   What is your basis for saying that?

1280       Mr. Jordan.     The sentence where he said they did not

1281   find obstruction.    I understand the sentence you are

1282   referring to where he talks about no exoneration either, but
       Case 1:19-cv-02379-KBJ Document 1-20 Filed 08/07/19 Page 56 of 73



       HJU093000                                  PAGE        55


1283   then there are three paragraphs after where he points out

1284   that there was not the elements of obstruction.

1285       In fact, the report -- excuse me -- the letter from the

1286   Attorney General referencing the Special Counsel report said

1287   no new indictments, no sealed indictments, no collusion, and

1288   as I just pointed out, did not find obstruction.

1289       On the question of collusion, it was very clear.        He

1290   said there were multiple opportunities for Trump associates,

1291   people associated with the Trump campaign to collude, and

1292   they did not.   So multiple times where the forbidden fruit

1293   was placed in front of them and they did not bite.

1294       I would also point out this.   There has been reference

1295   from the Democrats relative to Watergate and the Clinton

1296   Special Counsel.   Watergate, there was a break-in.    With

1297   Clinton, there was perjury.   With the chief charge of this

1298   Special Counsel’s investigation, there was no collusion.

1299       But here we are today.    Well, actually three weeks ago,

1300   the Chairman of the committee launched 81 letters to 60-some

1301   different individuals, and now today we are going to subpoena

1302   documents that the AG said he will give us in a matter of

1303   days.

1304       But maybe the most important point, I think, is the one

1305   that my colleague from Texas made, Mr. Ratcliffe.     The idea

1306   that the Chairman of the Intelligence Committee said he wants

1307   everything made public, including classified information, and
       Case 1:19-cv-02379-KBJ Document 1-20 Filed 08/07/19 Page 57 of 73



       HJU093000                                     PAGE      56


1308   the idea that the Chair of the Judiciary Committee, the House

1309   Judiciary Committee said last week, or this week, that he

1310   wants everything made public, including grand jury material,

1311   that is maybe the scariest thing of all.

1312       So the Attorney General has said he is going to turn

1313   this over in a matter of days.     Let’s wait.   Let’s get the

1314   information, and then let’s look at it then.

1315       With that, I would yield back the remaining 20 seconds

1316   to the gentle lady from Arizona.

1317       Mrs. Lesko.    I yield back my time.

1318       Chairman Nadler.    The gentleman from Florida, Mr. Gaetz.

1319       Mr. Gaetz.    Move to strike the last word.

1320       Chairman Nadler.    The gentleman is recognized.

1321       Mr. Gaetz.    Thank you.   I support the Buck amendment.

1322       When the human body sees life expire within it, one of

1323   the final sounds that it can make in dramatic and loud

1324   fashion is a death rattle, and I would suggest to the

1325   American people that what they are witnessing is the death

1326   rattle of the Democrats’ Russia collusion lie.

1327       For 22 months my colleagues on the other side, many of

1328   them said there was actual evidence of collusion.      And so

1329   now, clearly seeing that that is not true, we observe our

1330   colleagues moving through the stages of grief.

1331       First we saw shock and surprise.       My colleagues would

1332   huddle together after the findings of the Mueller report
       Case 1:19-cv-02379-KBJ Document 1-20 Filed 08/07/19 Page 58 of 73



       HJU093000                                    PAGE      57


1333   release wondering what to do next, what play to run after

1334   losing all credibility with the American people.

1335       And after shock, we now are in the stage of denial,

1336   where the principal findings of the Mueller report, they just

1337   cannot be true, they cannot be accepted, they must be false,

1338   there must be more information we can discover.

1339       I know we are beginning the baseball season, so perhaps

1340   a baseball analogy would be appropriate.     This would be like

1341   saying, well, we have lost the game, but we have to tweeze

1342   through the box score to see if we won the third inning.

1343   That is what is essentially happening with the desire of

1344   Democrats in the production of these subpoenas and voting on

1345   them today.

1346       It also represents a stark departure from the standards

1347   and statements that my own Democratic colleagues have laid

1348   out just last Congress and this Congress.     I am quoting now

1349   from the Speaker of the House, Ms. Pelosi.     In February of

1350   2018 she said, “President Trump has surrendered his

1351   constitutional responsibility as Commander in Chief by

1352   releasing highly classified and distorted intelligence.     By

1353   not protecting intelligence sources and methods, he just sent

1354   his friend Putin a bouquet.”

1355       Well, there was no bouquet, no untoward relationship

1356   with Vladimir Putin, but there was a statement from the

1357   Speaker of the House acknowledging that if you do not review
       Case 1:19-cv-02379-KBJ Document 1-20 Filed 08/07/19 Page 59 of 73



       HJU093000                                    PAGE      58


1358   sources and methods, you are derelict in your duty to the

1359   country.    Well, now that they are going through their stages

1360   of grief, perhaps we are approaching bargaining, because now

1361   they are trying to bargain away their own standards.

1362       But it is not just the Speaker of the House.      Let’s look

1363   to statements from the Chairman of the Judiciary Committee,

1364   the gentleman from New York, Mr. Nadler.     He said on June

1365   28th of 2018, “Republicans are requesting documents they know

1366   they cannot have.”    He continued, speaking of the

1367   Republicans, “Right is rightly denied.     They will do their

1368   best to undermine the credibility of the Department of

1369   Justice.”

1370       Well, Mr. Chairman, you are now asking for documents you

1371   know you cannot have, and you are doing so in order to erode

1372   confidence in the Attorney General who leads the Department

1373   of Justice because he has concluded that there was not

1374   collusion and that your principal Russian narrative was not

1375   truthful, was not credible.    We were right, you were wrong,

1376   and the American people know it.

1377       And so as we proceed now on this unfocused, 81-pronged

1378   investigation of the Judiciary Committee has launched, as we

1379   continue to have these mindless votes on unnecessary

1380   subpoenas, I sincerely hope that the American people will

1381   remember what things the Democrats were saying just months

1382   ago, that there was collusion, that there was actual evidence
       Case 1:19-cv-02379-KBJ Document 1-20 Filed 08/07/19 Page 60 of 73



       HJU093000                                    PAGE      59


1383   of collusion, and that sources and methods could never be

1384   disclosed as a consequence of our fidelity to our oath and to

1385   the people of this country.

1386       Let’s have some consistency, and let’s at least have

1387   some acknowledgment that you all were not telling the truth

1388   to the American people for an extended period of time.       We

1389   were, and you should not be trusted.

1390       I yield back.

1391       Chairman Nadler.      The question occurs on the amendment.

1392       All those in favor of the Buck amendment will signify by

1393   saying aye.

1394       Those opposed, no.

1395       In the opinion of the Chair, the noes have it.

1396       The noes have it.      The amendment is not agreed to.

1397       Mr. Collins.    Mr. Chairman, I ask for a recorded vote.

1398       Chairman Nadler.      A roll call vote has been requested.

1399       As your name is called, all those in favor will signify

1400   by saying aye; opposed, no.

1401       The Clerk will call the roll.

1402       Ms. Strasser.    Mr. Nadler?

1403       Chairman Nadler.      No.

1404       Ms. Strasser.    Mr. Nadler votes no.

1405       Ms. Lofgren?

1406       Ms. Lofgren.    No.

1407       Ms. Strasser.    Ms. Lofgren votes no.
       Case 1:19-cv-02379-KBJ Document 1-20 Filed 08/07/19 Page 61 of 73



       HJU093000                                        PAGE      60


1408       Ms. Jackson Lee?

1409       Ms. Jackson Lee.          No.

1410       Ms. Strasser.       Ms. Jackson Lee votes no.

1411       Mr. Cohen?

1412       Mr. Cohen.    No.

1413       Ms. Strasser.       Mr. Cohen votes no.

1414       Mr. Johnson of Georgia?

1415       Mr. Johnson of Georgia.         No.

1416       Ms. Strasser.       Mr. Johnson of Georgia votes no.

1417       Mr. Deutch?

1418       Mr. Deutch.     No.

1419       Ms. Strasser.       Mr. Deutch votes no.

1420       Ms. Bass?

1421       Mr. Richmond?

1422       Mr. Richmond.       No.

1423       Ms. Strasser.       Mr. Richmond votes no.

1424       Mr. Jeffries?

1425       Mr. Jeffries.       No.

1426       Ms. Strasser.       Mr. Jeffries votes no.

1427       Mr. Cicilline?

1428       Mr. Cicilline.        No.

1429       Ms. Strasser.       Mr. Cicilline votes no.

1430       Mr. Swalwell?

1431       Mr. Swalwell.       No.

1432       Ms. Strasser.       Mr. Swalwell votes no.
       Case 1:19-cv-02379-KBJ Document 1-20 Filed 08/07/19 Page 62 of 73



       HJU093000                                         PAGE   61


1433       Mr. Lieu?

1434       Mr. Lieu.     No.

1435       Ms. Strasser.        Mr. Lieu votes no.

1436       Mr. Raskin?

1437       Mr. Raskin.     No.

1438       Ms. Strasser.        Mr. Raskin votes no.

1439       Ms. Jayapal?

1440       Ms. Jayapal.        No.

1441       Ms. Strasser.        Ms. Jayapal votes no.

1442       Mrs. Demings?

1443       Mrs. Demings.        No.

1444       Ms. Strasser.        Mrs. Demings votes no.

1445       Mr. Correa?

1446       Mr. Correa.     No.

1447       Ms. Strasser.        Mr. Correa votes no.

1448       Ms. Scanlon?

1449       Ms. Scanlon.        No.

1450       Ms. Strasser.        Ms. Scanlon votes no.

1451       Ms. Garcia?

1452       Ms. Garcia.     No.

1453       Ms. Strasser.        Ms. Garcia votes no.

1454       Mr. Neguse?

1455       Mr. Neguse.     No.

1456       Ms. Strasser.        Mr. Neguse votes no.

1457       Mrs. McBath?
       Case 1:19-cv-02379-KBJ Document 1-20 Filed 08/07/19 Page 63 of 73



       HJU093000                                         PAGE   62


1458       Mrs. McBath.        No.

1459       Ms. Strasser.        Mrs. McBath votes no.

1460       Mr. Stanton?

1461       Mr. Stanton.        No.

1462       Ms. Strasser.        Mr. Stanton votes no.

1463       Ms. Dean?

1464       Ms. Dean.     No.

1465       Ms. Strasser.        Ms. Dean votes no.

1466       Ms. Mucarsel-Powell?

1467       Ms. Mucarsel-Powell.         No.

1468       Ms. Strasser.        Ms. Mucarsel-Powell votes no.

1469       Ms. Escobar?

1470       Ms. Escobar.        No.

1471       Ms. Strasser.        Ms. Escobar votes no.

1472       Mr. Collins?

1473       Mr. Collins.        Yes.

1474       Ms. Strasser.        Mr. Collins votes yes.

1475       Mr. Sensenbrenner?

1476       Mr. Sensenbrenner.         Aye.

1477       Ms. Strasser.        Mr. Sensenbrenner votes aye.

1478       Mr. Chabot?

1479       Mr. Chabot.     Aye.

1480       Ms. Strasser.        Mr. Chabot votes aye.

1481       Mr. Gohmert?

1482       Mr. Gohmert.        Aye.
       Case 1:19-cv-02379-KBJ Document 1-20 Filed 08/07/19 Page 64 of 73



       HJU093000                                         PAGE   63


1483       Ms. Strasser.        Mr. Gohmert votes aye.

1484       Mr. Jordan?

1485       Mr. Jordan.     Yes.

1486       Ms. Strasser.        Mr. Jordan votes yes.

1487       Mr. Buck?

1488       Mr. Buck.     Aye.

1489       Ms. Strasser.        Mr. Buck votes aye.

1490       Mr. Ratcliffe?

1491       Mr. Ratcliffe.        Yes.

1492       Ms. Strasser.        Mr. Ratcliffe votes yes.

1493       Mrs. Roby?

1494       Mr. Gaetz?

1495       Mr. Gaetz.     Aye.

1496       Ms. Strasser.        Mr. Gaetz votes aye.

1497       Mr. Johnson of Louisiana?

1498       Mr. Johnson of Louisiana.        Aye.

1499       Ms. Strasser.        Mr. Johnson of Louisiana votes aye.

1500       Mr. Biggs?

1501       Mr. Biggs.     Aye.

1502       Ms. Strasser.        Mr. Biggs votes aye.

1503       Mr. McClintock?

1504       Mr. McClintock.        Aye.

1505       Ms. Strasser.        Mr. McClintock votes aye.

1506       Mrs. Lesko?

1507       Mrs. Lesko.     Aye.
       Case 1:19-cv-02379-KBJ Document 1-20 Filed 08/07/19 Page 65 of 73



       HJU093000                                      PAGE      64


1508       Ms. Strasser.     Mrs. Lesko votes aye.

1509       Mr. Reschenthaler?

1510       Mr. Reschenthaler.           Aye.

1511       Ms. Strasser.     Mr. Reschenthaler votes aye.

1512       Mr. Cline?

1513       Mr. Cline.     Aye.

1514       Ms. Strasser.     Mr. Cline votes aye.

1515       Mr. Armstrong?

1516       Mr. Armstrong.        Yes.

1517       Ms. Strasser.     Mr. Armstrong votes yes.

1518       Mr. Steube?

1519       Mr. Steube.     Yes.

1520       Ms. Strasser.     Mr. Steube votes yes.

1521       Chairman Nadler.        The Clerk will report.

1522       One more?     The Clerk will suspend.

1523       Ms. Strasser.     Ms. Bass votes no.

1524       Chairman Nadler.        Has everyone else voted?

1525       The Clerk will report.

1526       Ms. Strasser.     Ms. Jackson Lee is recorded as no.

1527       Mr. Chairman, the vote is 16 ayes and 24 noes.

1528       Chairman Nadler.        A majority having voted against the

1529   amendment, the amendment is not agreed to.

1530       Are there any other amendments?        Is there another

1531   amendment?

1532       The gentleman is recognized.
       Case 1:19-cv-02379-KBJ Document 1-20 Filed 08/07/19 Page 66 of 73



       HJU093000                                     PAGE      65


1533       Mr. McClintock.    I move to strike the last word.

1534       Chairman Nadler.    The gentleman is recognized.

1535       Mr. McClintock.    Thank you.     Mr. Chairman, I called for

1536   the --

1537       Chairman Nadler.    Wait a minute.     The Clerk will report

1538   the amendment.

1539       Voice.    There is no amendment.

1540       Chairman Nadler.    I am sorry.

1541       Go ahead.

1542       Mr. McClintock.    Mr. Chairman, I called for the

1543   appointment of a Special Counsel to look into charges of

1544   collusion before Mr. Mueller was appointed because I believed

1545   the President was completely innocent of these outlandish

1546   charges and that a full and independent investigation would

1547   show that.

1548       Now it has, and I too want to see as much of the report

1549   made public as quickly as humanly possible to put the lie to

1550   these politicians who have been telling us for more than two

1551   years that they held in their hands irrefutable evidence of

1552   coordination between the Russian government and the Trump

1553   campaign.    I want to know all aspects of this lie and who was

1554   responsible for using it to tear this country apart and to

1555   interfere with the legitimate election of the President.

1556       What I do not want to do is illegally release material

1557   in that report that is related to ongoing investigations into
       Case 1:19-cv-02379-KBJ Document 1-20 Filed 08/07/19 Page 67 of 73



       HJU093000                                   PAGE      66


1558   political corruption at the highest levels of the FBI and the

1559   Justice Department.

1560       It is clear that high-ranking officials entrusted with

1561   the law enforcement powers of our country abused this trust

1562   to influence the 2016 presidential election and ultimately to

1563   undermine its outcome.    It is inconceivable that the Mueller

1564   investigation did not look into the fake Steele dossier that

1565   was the source of these outlandish charges and that was

1566   knowingly invoked by these officials in their attempt to

1567   delegitimize the constitutional right of the American people

1568   to elect their president.

1569       The premature release of such information while the

1570   Inspector General is conducting investigations into this

1571   matter, and while future prosecutions of these officials is

1572   possible, would itself be a deliberate and calculated attempt

1573   to obstruct justice by this committee, and I am opposed to

1574   the motion.

1575       Chairman Nadler.     The question occurs on the amendment

1576   in the nature of a substitute.

1577       All those in favor, respond by saying aye.

1578       Opposed, no?

1579       In the opinion of the Chair, the ayes have it, and the

1580   amendment in the nature of a substitute is agreed to.

1581       A reporting quorum being present, the question is on the

1582   motion to agree to the resolution as amended.
       Case 1:19-cv-02379-KBJ Document 1-20 Filed 08/07/19 Page 68 of 73



       HJU093000                                       PAGE    67


1583       Those in favor, respond by saying aye.

1584       Those opposed?

1585       The ayes have it.       The resolution --

1586       Mr. Collins.     Roll call.

1587       Chairman Nadler.       A recorded vote has been requested,

1588   and the Clerk will call the roll.

1589       Ms. Strasser.     Mr. Nadler?

1590       Chairman Nadler.        Aye.

1591       Ms. Strasser.     Mr. Nadler votes aye.

1592       Ms. Lofgren?

1593       Ms. Lofgren.     Aye.

1594       Ms. Strasser.     Ms. Lofgren votes aye.

1595       Ms. Jackson Lee?

1596       Mr. Cohen?

1597       Mr. Cohen.     Aye.

1598       Ms. Strasser.     Mr. Cohen votes aye.

1599       Mr. Johnson of Georgia?

1600       Mr. Johnson of Georgia.        Aye.

1601       Ms. Strasser.     Mr. Johnson of Georgia votes aye.

1602       Mr. Deutch?

1603       Mr. Deutch.     Aye.

1604       Ms. Strasser.     Mr. Deutch votes aye.

1605       Ms. Bass?

1606       Mr. Richmond?

1607       Mr. Richmond.     Aye.
       Case 1:19-cv-02379-KBJ Document 1-20 Filed 08/07/19 Page 69 of 73



       HJU093000                                         PAGE   68


1608       Ms. Strasser.        Mr. Richmond votes aye.

1609       Mr. Jeffries?

1610       Mr. Jeffries.        Aye.

1611       Ms. Strasser.        Mr. Jeffries votes aye.

1612       Mr. Cicilline?

1613       Mr. Cicilline.        Aye.

1614       Ms. Strasser.        Mr. Cicilline votes aye.

1615       Mr. Swalwell?

1616       Mr. Swalwell.        Aye.

1617       Ms. Strasser.        Mr. Swalwell votes aye.

1618       Mr. Lieu?

1619       Mr. Lieu.     Aye.

1620       Ms. Strasser.        Mr. Lieu votes aye.

1621       Mr. Raskin?

1622       Mr. Raskin.     Aye.

1623       Ms. Strasser.        Mr. Raskin votes aye.

1624       Ms. Jayapal?

1625       Ms. Jayapal.     Aye.

1626       Ms. Strasser.        Ms. Jayapal votes aye.

1627       Mrs. Demings?

1628       Mrs. Demings.        Aye.

1629       Ms. Strasser.        Mrs. Demings votes aye.

1630       Mr. Correa?

1631       Mr. Correa.     Aye.

1632       Ms. Strasser.        Mr. Correa votes aye.
       Case 1:19-cv-02379-KBJ Document 1-20 Filed 08/07/19 Page 70 of 73



       HJU093000                                         PAGE    69


1633       Ms. Scanlon?

1634       Ms. Scanlon.     Aye.

1635       Ms. Strasser.        Ms. Scanlon votes aye.

1636       Ms. Garcia?

1637       Ms. Garcia.     Aye.

1638       Ms. Strasser.        Ms. Garcia votes aye.

1639       Mr. Neguse?

1640       Mr. Neguse.     Aye.

1641       Ms. Strasser.        Mr. Neguse votes aye.

1642       Mrs. McBath?

1643       Mrs. McBath.     Aye.

1644       Ms. Strasser.        Mrs. McBath votes aye.

1645       Mr. Stanton?

1646       Mr. Stanton.     Aye.

1647       Ms. Strasser.        Mr. Stanton votes aye.

1648       Ms. Dean?

1649       Ms. Dean.     Aye.

1650       Ms. Strasser.        Ms. Dean votes aye.

1651       Ms. Mucarsel-Powell?

1652       Ms. Mucarsel-Powell.        Aye.

1653       Ms. Strasser.        Ms. Mucarsel-Powell votes aye.

1654       Ms. Escobar?

1655       Ms. Escobar.     Aye.

1656       Ms. Strasser.        Ms. Escobar votes aye.

1657       Mr. Collins?
       Case 1:19-cv-02379-KBJ Document 1-20 Filed 08/07/19 Page 71 of 73



       HJU093000                                        PAGE   70


1658       Ms. Bass?

1659       Ms. Bass.     Aye.

1660       Ms. Strasser.        Ms. Bass votes aye.

1661       Mr. Collins.        No.

1662       Ms. Strasser.        Mr. Collins votes no.

1663       Mr. Sensenbrenner?

1664       Mr. Sensenbrenner.        No.

1665       Ms. Strasser.        Mr. Sensenbrenner votes no.

1666       Mr. Chabot?

1667       Mr. Chabot.     No.

1668       Ms. Strasser.        Mr. Chabot votes no.

1669       Mr. Gohmert?

1670       Mr. Gohmert.        No.

1671       Ms. Strasser.        Mr. Gohmert votes no.

1672       Mr. Jordan?

1673       Mr. Jordan.     No.

1674       Ms. Strasser.        Mr. Jordan votes no.

1675       Mr. Buck?

1676       Mr. Buck.     No.

1677       Ms. Strasser.        Mr. Buck votes no.

1678       Mr. Ratcliffe?

1679       Mrs. Roby?

1680       Mrs. Roby.     No.

1681       Ms. Strasser.        Mrs. Roby votes no.

1682       Mr. Gaetz?
       Case 1:19-cv-02379-KBJ Document 1-20 Filed 08/07/19 Page 72 of 73



       HJU093000                                      PAGE     71


1683       Mr. Gaetz.    No.

1684       Ms. Strasser.       Mr. Gaetz votes no.

1685       Mr. Johnson of Louisiana?

1686       Mr. Johnson of Louisiana.          No.

1687       Ms. Strasser.       Mr. Johnson of Louisiana votes no.

1688       Mr. Biggs?

1689       Mr. Biggs.    No.

1690       Ms. Strasser.       Mr. Biggs votes no.

1691       Mr. McClintock?

1692       Mr. McClintock.        No.

1693       Ms. Strasser.       Mr. McClintock votes no.

1694       Mrs. Lesko?

1695       Mrs. Lesko.     No.

1696       Ms. Strasser.       Mrs. Lesko votes no.

1697       Mr. Reschenthaler?

1698       Mr. Reschenthaler.           No.

1699       Ms. Strasser.       Mr. Reschenthaler votes no.

1700       Mr. Cline?

1701       Mr. Cline.    No.

1702       Ms. Strasser.       Mr. Cline votes no.

1703       Mr. Armstrong?

1704       Mr. Armstrong.        No.

1705       Ms. Strasser.       Mr. Armstrong votes no.

1706       Mr. Steube?

1707       Mr. Steube.     No.
       Case 1:19-cv-02379-KBJ Document 1-20 Filed 08/07/19 Page 73 of 73



       HJU093000                                   PAGE      72


1708       Ms. Strasser.   Mr. Steube votes no.

1709       Chairman Nadler.    Has every member voted who wishes to

1710   vote?

1711       Ms. Jackson Lee.    Mr. Chairman, how am I recorded?

1712       Ms. Strasser.   Ms. Jackson Lee, you are not recorded.

1713       Ms. Jackson Lee.    Aye.

1714       Ms. Strasser.   Ms. Jackson Lee votes aye.

1715       Chairman Nadler.    The gentleman from Texas?

1716       Ms. Strasser.   Mr. Ratcliffe votes no.

1717       Chairman Nadler.    Does any other member wish to vote who

1718   has not voted?

1719       The Clerk will report.

1720       Ms. Strasser.   Mr. Chairman, the vote is 24 ayes, 17

1721   noes.

1722       Chairman Nadler.    The ayes have it.   The resolution is

1723   amended as agreed to.

1724       This concludes our business for today.    Thanks to all of

1725   our members for attending.

1726       The mark-up is adjourned.

1727       [Whereupon, at 10:25 a.m., the hearing was adjourned.]
